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          Exhibit 4
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                                                                              I 1111111111111111
                                                                                        11111
                                                                                           1111111111
                                                                                                1111111111
                                                                                                      111111111111111
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                                                                                                         US008018852B2


c12)   United States Patent                                                           (10)   Patent No.:                    US 8,018,852 B2
       Olakangil et al.                                                               (45)   Date of Patent:                           Sep. 13, 2011

(54)    EQUAL-COST SOURCE-RESOLVED                                                      6,731,599   Bl*   5/2004 Hunter et al. .................        370/229
        ROUTING SYSTEM AND METHOD                                                       6,888,838   Bl * 5/2005 Ji et al. ..........................    370/401
                                                                                        6,987,735   B2 * 1/2006 Basso et al. ...................        370/238
                                                                                        7,190,696   Bl*   3/2007 Manur et al. ..................        370/392
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                   (US); Sahil Dighe, Salt Lake City, UT                            2003/0137978    Al * 7/2003 Kanetake ......................         370/386
                   (US); Kishore C Rao, Midvale, UT (US)                            2003/0223413    Al * 12/2003 Guerrero .......................       370/389

(73)    Assignee:      Alcatel Lucent, Paris (FR)                                                    OTHER PUBLICATIONS
                                                                                 Villamizar, Curtis: "OSPF Optimized Mulipath" Internet Citation,
( *)    Notice:        Subject to any disclaimer, the term ofthis                [Online] XP002195148 Retrieved from the Internet: URL:http://
                       patent is extended or adjusted under 35                   www.watersprings.org/pub/id/draft-ietf-ospf-omp-02.txt.
                       U.S.C. 154(b) by 1120 days.
                                                                                 * cited by examiner
(21)    Appl. No.: 10/746,056
                                                                                Primary Examiner - Ricky Ngo
(22)    Filed:         Dec. 24, 2003                                            Assistant Examiner - David Oveissi
                                                                                (74) Attorney, Agent, or Firm - RG & Associates
(65)                       Prior Publication Data
                                                                                 (57)                         ABSTRACT
        US 2005/0041590Al                 Feb.24,2005
                                                                                 A method and system for augmenting routing decisions in a
                   Related U.S. Application Data                                 network switching device with topology information
                                                                                 acquired using source learning are disclosed. In the preferred
(60)    Provisional application No. 60/497,074, filed on Aug.
                                                                                 embodiment, the method of selecting a port to transmit an
        22, 2003.
                                                                                 outbound flow from a first node to a second node comprises
(51)    Int. Cl.                                                                 the steps of identifying a plurality of ports associated with
        GOJR 31/08               (2006.01)                                       minimal equal-cost paths from the first node to the second
                                                                                 node, and if an inbound flow from the second node is detected
(52)    U.S. Cl. ......... 370/238; 370/229; 370/400; 370/401
                                                                                 on a first port of the plurality of ports of the first node, then
(58)    Field of Classification Search .................. 370/238,
                                                                                 transmitting the outbound flow from the first port. In the
                  370/392,389,255,239,401,409,386,235
                                                                                 absence of an inbound flow from the second node, the first
        See application file for complete search history.
                                                                                 node generally selects the port for the outbound flow from the
                                                                                 plurality of minimal equal-cost paths. The present invention
(56)                       References Cited
                                                                                 allows a switching device to take advantage of the path deter-
                   U.S. PATENT DOCUMENTS                                         mination made at another router in the network while avoid-
                                                                                 ing inconsistencies between conventional route selection
       5,394,393    A * 2/1995 Brisson et al. ................      370/392
       5,566,170    A * 10/1996 Bakke et al. ..................     370/392
                                                                                 operations and IP source learning in switching devices
       6,633,544    Bl * 10/2003 Rexford et al. ...............     370/238      adapted to perform bridging on IP address.
       6,646,989    Bl * 11/2003 Khotimsky et al. ...........       370/238
       6,721,800    Bl*   4/2004 Basso et al. ...................   709/239                         18 Claims, 3 Drawing Sheets




                      SWITCHING
                                                                     NETWORK                                   ROUTER
                       DEVICE
                                                                              110                                    104
                         102




                             106                                                                                108
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    SWITCHING
                                  NETWORK             ROUTER
     DEVICE
                                    110                  104
         102




       106                                            108

                                  FIG. 1
                                                                                                       ~
                                                                                        -
                                                                                                       00
                                                                                                       •
                           SWITCHING DEVICE             102                                      226   ~
                                                                                                       ~
                                                                                                       ~
     MGMT                   POLICYMNGR        ~                ~                  ...       ,)         ~
                                              -.,              ...CONFIGURATION   ~

     MODULE                      222                                MNGR 224                           ~
                                                                                                       =
     220
                                    ••                                  +
ROUTING       SOURCE         LOOKUP                           QUEUE MANAGER 240                        rJJ
                                                                                                       ('D
MNGR 216      LRNG 214       CACHE 212                                                                 '?
                                                                                                       ....
                                                                                                       ~
                                                                                                       ~
   :              :                 i                                                                  N
                              230                                                                      0
          ROUTING ENGINE                                      INGRESS     EGRESS                       ....
                                                                                                       ....
                                                               QUEUE      QUEUE
       PARSING   FORWARDING
                                                                MEM        MEM
       ENG 232     DB 234                           ~

                                                                 242        248                        rJJ
                                                                                                       ('D
                                                                                                       =-
           FORWARDING                                                                                  ('D

                                          ~
                                          -                                                            .....
           PROCESSOR 238                                                                               N
                                                                            ·~                         0
                                                                                                       ....
                                                                                                       ~




  <--:,
                 +    DATA BUS 206                  <--:,

       l               l                                           1•
                                                                      FABRIC
   NIM                NIM                 NIM
                                ...                                 INTERFACE                          d
   202                203                 204                                                          r.,;_
                                                                   MODULE 208
                       ~
                                                                                                       00
                                                                                                       =
                                                                                                       00
                                                                                                       """'
                                                                                                       00
                                                                                                               Case 6:20-cv-00369-ADA Document 1-4 Filed 05/07/20 Page 4 of 9




                                                                                                       UI
                                         FIG. 2                                                        N

                                                                                                       N
                                                                                                       =
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    302

             IDENTIFY NEW OUTBOUND FLOW

     304 ....------___._         ______              _,
              DETERMINE SET OF POSSIBLE
                OUTBOUND INTERFACES


     30 6 IDENTIFY ONE OR MORE OUTBOUND
              INTERFACES ASOCIATED WI
                 LOWEST COST PATHS



                                                            N




                                                             N




                SELECT OUTBOUND                         PERFORM
              INTERFACE = INTERFACE                  STANDARD PATH
                 OF INBOUND PATH                       ASSIGNMENT



              ROUTE OUTBOUND FLOW TO OUTBOUND INTERFACE



                                                                     MONITOR
       y                                                 -::----=-N~INCOMING
                                                                      FLOWS

                                                             320


                                  FIG. 3
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                                                       US 8,018,852 B2
                               1                                                                         2
         EQUAL-COST SOURCE-RESOLVED                                         In a number of routers, the interface assigned to an out-
         ROUTING SYSTEM AND METHOD                                       bound flow need not be the same as the interface of the
                                                                         corresponding inbound flow received. In some devices con-
           CROSS REFERENCE TO RELATED                                    figured to perform "source learning" on network layer
                   APPLICATION                                      5    addresses, however, conflicts can occur if the outbound inter-
                                                                         face assigned is different than the interface on which inbound
  This application claims the benefit of U.S. provisional                traffic from the same flow is received. There is therefore a
application Ser. No. 60/497,074, entitled "EQUAL-COST                    need to reconcile inconsistencies between the inbound inter-
SOURCE-RESOLVED           ROUTING        SYSTEM        AND               face on which traffic is learned and the outbound interface to
                                                                    10   which outbound traffic is assigned while still providing the
METHOD," filed Aug. 22, 2003, the contents of which is
hereby incorporated herein by reference for all purposes.                port assignment scheme flexibility needed to perform load
                                                                         balancing, for example.
                  FIELD OF INVENTION
                                                                                                   SUMMARY
                                                                    15
   The invention generally relates to a port selection tech-
nique used in a network switching environment where there                   The present invention features a method and system for
                                                                         augmenting routing decisions in a network switching device
are multiple equal-cost paths between two nodes. In particu-
                                                                         with topology information acquired using source learning. In
lar, the invention relates to a method and system for selecting
                                                                         the preferred embodiment, the equal-cost source-resolved
an outbound port among a plurality of ports associated with         20   (ECSR) port selection method for transmitting an outbound
minimal equal-cost paths using network layer source learn-               flow from a first node to a second node comprises the steps of
ing.                                                                     identifying a plurality of ports associated with minimal equal-
                                                                         cost paths from the first node to the second node, and if an
                       BACKGROUND                                        inbound flow from the second node is detected on a first port
                                                                    25   of the plurality of ports of the first node, then transmitting the
   In an Internet Protocol (IP) network or other packet-                 outbound flow from the first port. The minimal equal-cost
switched network, packets are frequently transmitted through             paths are generally derived from route information
many intermediate routers between a source node and a des-               exchanged between the first node and one or more other
tination node. At each of these intermediate routers traversed           routing devices. In addition, the first node may also learn of
in the path, the next-hop in the path to the destination node is    30   other nodes in the network through source learning opera-
determined. The next-hop is commonly selected from a plu-                tions in which the network addresses of inbound flows are
rality of potential next-hop routers based upon the routing              associated with the port on which they are received. In the
tables compiled at the node.                                             absence of an inbound flow from the second node, the first
   In routers enabled with the Open Shortest-Path First                  node generally selects the port for the outbound flow from the
(OSPF) protocol, for example, the next-hop selected is asso-        35   plurality of ports associated with the minimal equal-cost
ciated with the "shortest path" to the destination node. The             paths using round robin, for example.
shortest path is generally the least costly path measured as a              The present invention therefore allows a switching device
function of one or more metrics. Routers exchange these cost             to take advantage of the path determination made at another
metrics using link-state advertisements that are flooded                 router in the network while avoiding inconsistencies between
through the network. Upon receipt of a link-state advertise-        40   conventional route selection operations and source learning
ment, the recipient router retains a copy in its link-state data-        in switching devices adapted to perform bridging on network
base and then propagates the update to other routers.                    addresses instead of physical addresses.
   After the link-state database of each router is completed,
the routers generate a Shortest Path Tree to all destinations                   BRIEF DESCRIPTION OF THE DRAWINGS
nodes using Dijkstra's algorithm. The destinations nodes, the       45
associated cost, and the next-hop to reach those destinations               The present invention is illustrated by way of example and
form the routing table.                                                  not limitation in the figures of the accompanying drawings,
   The cost may be based on bandwidth, the expense of a                  and in which:
leased line, or administrator assignment, for example. The                  FIG.1 is a functional block diagram ofanetwork including
bandwidth of an interface represents the overhead required to       50   an equal-cost source-resolved switching device, according to
send packets across an interface, and the associated band-               the preferred embodiment of the present invention;
width cost is inversely proportional to the bandwidth of that               FIG. 2 is a functional block diagram of an equal-cost
interface. The cost of a path between the source and destina-            source-resolved switching device, according to the preferred
tion nodes is then the sum of the costs associated for all the           embodiment of the present invention; and
interfaces traversed between the source and destination             55      FIG. 3 is a flow chart of the equal-cost source-resolved port
nodes.                                                                   selection method, according to the preferred embodiment of
   If the destination node is reachable through a plurality of           the present invention.
interfaces, a router will generally transmit the packet toward
the destination node using the interface associated with the                              DETAILED DESCRIPTION
minimal cost path. In some cases, however, multiple paths           60
may have the same minimal path cost. While each of the                      Illustrated in FIG. 1 is a functional block diagram of a
associated interfaces may be used to transmit a packet to the            network including an equal-cost source-resolved (ECSR)
destination with minimal cost, the router generally assigns a            switching device 102, according to the preferred embodiment
single interface from which to transmit all outbound packets             of the present invention. The switching device 102 is operably
of a flow to assure the packet order is preserved. A router may     65   coupled to an end station 106 having the IP address
employ a round-robin scheme to assign each new outbound                  192.168.0.1 as well as a router 104 via the network 110. The
flow to one of the plurality of minimal equal-cost paths.                switching device 102 is operably coupled to the network 110
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                               3                                                                       4
by means of a plurality of interfaces including port Pl and              PDU, or flood it to all ports. The source IP address, and the
port P2, preferably Ethernet ports. The router 104 comprises             source MAC address in some embodiments, is used by the
a plurality of interfaces including ports P3 and port P4, and is         source learning module 214 to update and refresh the address
operatively coupled to a second edge device 108 having the IP            table as needed to associate each addresses detected with the
address 192.169.2.1. The switching device 102 and router            5    port on which it may be reached. Frames directed to an end
104 are two of a plurality nodes and other addressable entities          station attached to the switching device 102 are transparently
operatively coupled to network 110, which may further                    switched to the outbound port learned in the address table. If
include one or more local area network (LANs), wide area                 the destination address of the inbound PDU indicates a des-
network (WANs), or metropolitan area network (MANs), or                  tination node outside the immediate network domain of the
combinations thereof, for example.                                  10   switching device 102, the switching device attempts to route
   For purposes of illustration, the path between port Pl and            the PDU toward the network including the destination. In the
port P3 and the path between port P2 and port P4 are minimal             preferred embodiment, the IP destination address is used as a
equal cost paths. As such, the switching device 102 has the              key into a routing table in the forwarding database 234 where
option of assigning the first port Pl or second port P2 to be the        it is compared against known network addresses in accor-
designated outbound port for purposes of transmitting traffic       15   dance with route lookup activity. If the IP destination address
from the first end station 106 to the second end station 108. As         matches an entry in the routing table, the associated MAC
a rule, each new outbound flow detected at the switching                 address of an adjacent device to which the packet is to be
device 102 is assigned a particular outbound interface                   forwarded, i.e., the next-hop address or the destination swap
through which each of the PDUs of the flow are transmitted.              entry, and the associated output interface are retrieved and
Using the same outbound interface for each PDU minimizes            20   conveyed to the forwarding processor 238.
the probability of PDUs of a flow arriving at the destination               In addition to the IP addresses acquired by the source
out of sequence.                                                         learning module 214, the routing information in the forward-
   Illustrated in FIG. 2 is a functional block diagram of a              ing database 234 may further include IP addresses compiled
switching device for performing the ECSR port selection                  by a routing manager 216 that exchanges routing information
method, in accordance with the preferred embodiment. The            25   and periodic updates with other routers to determine the net-
switching device 102 of the preferred embodiment comprises               work topology and route metrics. Where there are two or
a plurality of network interface modules (NIMs) 202-204,                 more potential paths through the network 110 to a destination
one or more routing engines 23 0, a queue manager 240, and a             node, the routing manager 216 selects a best path having the
management module 220. Each of the NIMs 202-204 com-                     least cost metric. The output port for the selected path is
prises one or more external ports, i.e., interfaces, operably       30   incorporated into the routing table of the forwarding database
coupled to a communications link (not shown) for purposes of             234 along with the associated MAC address.
receiving and transmitting inbound and outbound data traffic,               In the preferred embodiment, the routing manager 216 and
respectively. The interfaces may be physically organized in              forwarding database 234 are embodied in a Media Switch
one or more slots or switch modules that are detachably                  IXE2424 10/l00+Gigabit L21314 Advanced Device manu-
attached to a common back plane with switch fabric (not             35   factured by INTEL® of Santa Clara, Calif. In some imple-
shown). The duplex traffic flows 250 representing inbound                mentations of the Media Switch IXE2424, the next-hop
and outbound flows comprising one or more protocol data                  address or destination swap entry retained in the routing table
units (PDUs) are then conveyed between the routing engine                of the forwarding database 234 must be the same as the
230 and the plurality of NIMs 202-204 via one or more                    address table also of the forwarding database 234. Inconsis-
internal data buses 206.                                            40   tencies between the IP address and MAC address entry in the
   The management module 220 generally comprises a policy                routing table and one or more IP addresses and MAC
manager 222 for retaining and implementing traffic policies              addresses acquired by the source learning module 214 may
uploaded to a configuration manager 224 by a network                     introduce performance irregularities. Such an inconsistency
administrator using simple network management protocol                   may arise where the assigned outbound port for a flow of a
(SNMP) messages 226, for example. In the preferred embodi-          45   given conversation is different than the port on which the
ment, the policy rules preferably comprise: (a) routing infor-           conversation is received, which is possible where the remote
mation, (b) quality of service (QoS) rules, (c) class of service         host device is reachable through a plurality of minimal equal-
(CoS) rules, or combinations thereof. One or more local cop-             cost paths.
ies of the policy rules are preferably retained in high speed               To avoid such inconsistencies between the routing table
look-up cache 212 where they are available in real-time to the      50   and address table, the routing manager 216 of the preferred
routing engine 230 operating at wire speeds.                             embodiment is adapted to override the outbound port assign-
   The routing engine 230 of the preferred embodiment is                 ment in the routing table when traffic is received from the
generally capable of, but not limited to, performing layer 2             same network address but on a different minimal equal-cost
switching operations and layer 3 routing operations using                path. In this case, the routing manager 216 assigns or reas-
layer 2 through 7 information, as defined in the Open Systems       55   signs the outbound flow associated with a particular IP
Interconnect (OSI) reference model. The routing engine 230               address to the same port on which the corresponding inbound
preferably comprises a parsing engine 232, a forwarding                  flow is received. The MAC address of the destination device
database 234, and forwarding processor 238. The parsing                  or gateway associated with the IP address is generally learned
engine 232 decapsulates the incoming PDUs of the ingress                 using an address resolution protocol (ARP), although it may
data stream, extracts one or more bits from one or more             60   also be learned in some implementations from the inbound
header(s), and outputs source and destination address infor-             flow, for example.
mation used to make forwarding decisions and identify traffic               Once the proper next-hop address MAC address and out-
flows.                                                                   bound interface are determined for the outbound flow, the
   The data link layer destination address, e.g., the destination        forwarding processor 238 encapsulates the packet with a data
media access control (MAC) address, is searched in an               65   link layer header before transmitting the frame to the queue
address table of the forwarding database 234 to determine                manager 240. The new frame is then enqueued in the ingress
whether to forward the PDU to a specific port, discard the               queue memory 242, conveyed to the proper outbound port of
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                                5                                                                        6
the egress switching device via the switch fabric (not shown)             identifies the two equal cost paths associated with port Pl and
via the fabric interface module 208, and transmitted toward               port P2. The switching device 102 first tests to determine if
the destination node. The outbound port is preferably the                 any inbound packets of the same flow have been received on
same port on which inbound traffic from the same domain is                either port Pl or port P2. If, for example, traffic from the
received, if applicable.                                             5    second edge device 108 to the first edge device 106 was
   Illustrated in FIG. 3 is a flow chart of the equal-cost source-        previously detected by and learned on port P2, then the
resolved (ECSR) port selection method according to the pre-               learned path test 310 of FIG. 3 is answered in the affirmative
ferred embodiment of the present invention. In the course of              and the switching device 102 assigns port P2 as the outbound
routing one or more flows through the switching device 102,               port for the new flow to the second edge device 108. All
the routing engine 230 periodically identifies a new outbound        10   subsequent PD Us of the outbound flow from first edge device
traffic flow (step 302). A new outbound flow is a flow for                106 to the second edge device 108 are then transmitted using
which there is no existing next-hop entry in the routing table            P2. Prior to receiving any inbound flow from the second edge
of forwarding database 234. A traffic flow as used herein                 device 108 to the first edge device 106, the learned path test
refers to a set of one or PDU s satisfying a common policy, the           310 is answered in the negative and the outbound port
policy defined by one or more criteria that may include the          15   assigned using conventional techniques such as round robin.
destination address and higher layer protocol information, for            Using round robin, port Pl or port P2 may be assigned for
example.                                                                  purposes of the new outbound flow depending on any previ-
   After identifying a new flow (step 302), the routing man-              ous port assignments that have been made and the load on
ager 216 determines (step 304) whether the set of outbound                those ports.
interfaces, through which the destination node associated            20      Although the description above contains many specifica-
with the new flow is directed, is reachable. The routing man-             tions, these should not be construed as limiting the scope of
ager 216 then identifies (step 306) the one or more minimal               the invention but as merely providing illustrations of some of
equal-cost interfaces. If there is only one minimal equal-cost            the presently preferred embodiments of this invention.
path, the ECMP test (step 3 08) is answered in the negative and              Therefore, the invention has been disclosed by way of
the interface associated with the single minimal cost path is        25   example and not limitation, and reference should be made to
assigned as the outbound interface for purposes of transmit-              the following claims to determine the scope of the present
ting (step 316) the new outbound flow.                                    invention.
   If there are two or more minimal equal-cost paths, the                    We claim:
ECMP test 308 is answered in the affirmative and routing                     1. A equal-cost source-resolved (ECSR) port selection
manager 216 determines whether an incoming flow for the              30   method for transmitting an outbound flow, for a conversation,
same conversation has been received from the destination                  from a first node to a second node in a distributed network
node associated with the new flow. If the IP address of the               comprising one or more routing devices, the method compris-
destination node was previously learned by the source learn-              ing the steps of:
ing module 214 and has not expired, the learned path test 310                at a switching device:
is answered in the affirmative and the outbound interface            35         identifying a plurality of ports associated with minimal
assigned (step 312) to be the inbound interface. The new                           equal-cost paths from the first node to the second
outbound flow is then transmitted ( step 316) through the same                     node;
interface on which the inbound flow was received from the                       if an inbound flow, for the conversation, received from
destination node. In this manner, the switching device may                         the second node is detected on a first port of the
take advantage of the equal-cost, multi-path (ECMP) compu-           40            plurality of ports of the first node, then associating a
tation made by another router in the network.                                      network address of the inbound flow with the first port
   If there are multiple minimal equal-cost paths and no pre-                      on which it was received; and
ceding inbound traffic from the destination for which the                       transmitting the outbound flow from the first port of the
outbound interface is being selected, the routing manager 216                      first node to the second node based on the network
assigns (step 314) the outbound interface using conventional         45            address associated with the inbound flow.
assignment criteria. In the preferred embodiment, the out-                   2. The ECSR port selection method of claim 1, wherein the
bound interface is selected from the plurality of minimal                 minimal equal-cost paths are derived from route information
equal-cost paths using a round-robin scheme. The assigned                 exchanged between the first node and the one or more routing
interface is used to transmit (step 316) each PDU of the new              devices in the distributed network.
outbound flow.                                                       50      3. The ECSR port selection method of claim 1, wherein the
   If the routing manager 216 later detects or otherwise learns           method further includes, after the inbound flow, for the con-
of an inbound flow associated with a conversation for which               versation, from the second node is detected, the step ofretain-
there is an existing outbound flow, and the inbound flow and              ing the network address associated with the inbound flow, for
outbound flows are on different minimal equal-cost paths, the             the conversation, at a forwarding database maintained by the
inbound flow test 318 is answered in the affirmative and the         55   first node.
existing outbound flow assigned to the interface associated                  4. The ECSR port selection method of claim 3, wherein the
with the newly detected inbound flow of the same conversa-                forwarding database comprises entries relating one or more
tion. After an outbound port assignment is made, the ECSR                 network addresses to an associated inbound port of the plu-
switching device 102 continues to monitor (step 320) incom-               rality of ports.
ing flows to maintain consistency between the inbound and            60      5. The ECSR port selection method of claim 1, wherein the
outbound ports.                                                           inbound flow, for the conversation, from the second node is
   Referring once again to FIG. 1, the ECSR port selection                detected using a network address source learning.
method of the preferred embodiment may be employed by the                    6. The ECSR port selection method of claim 5, wherein the
switching device 102 to choose the appropriate interface with             source learning associates a source IP address retrieved from
which to route a flow from the first end station 106 to the          65   one or more inbound protocol data units, for the conversation,
second end station 108. Upon receipt of the first PDU of a                (PDU s) with the port on which the one or more inbound PDU s
flow, the switching device 102 detects the new flow and                   are received.
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  7. The ECSR port selection method of claim 1, wherein the                  determining whether an inbound flow, for the conversation,
method further includes the step of, if an inbound flow, for the                received from the second node is detected on a first port
conversation, from the second node is not detected on the                       of the plurality of ports of the first node;
plurality of ports, transmitting the outbound flow, for the                  associating a network address of the inbound flow with the
conversation, from a port selected from the plurality of ports       5          first port on which it was received;
associated with the minimal equal-cost paths.                                selecting the first port for carrying the outbound flow in
   8. The ECSR port selection method of claim 7, wherein the                    response to determining that an inbound flow, for the
selected port is chosen using round robin.                                      conversation, from the second node is present on the first
   9. The ECSR port selection method of claim 7, wherein the                    port; and;
port on which the outbound flow, for the conversation, is            10      transmitting the outbound flow from the first port of the
transmitted is reassigned from the selected port to the first                   first node to the second node based on the network
port after the inbound flow, for the conversation, from the                     address associated with the inbound flow.
second node is detected.                                                     12. The port selection method of claim 11, wherein the
   10. A equal-cost source-resolved (ECSR) switching device               minimal equal-cost paths are derived from route information
for transmitting an outbound flow, for a conversation, to a          15   exchanged between the first node and one or more routing
second node, wherein the switching device:                                devices in the network.
   identifies a plurality of ports associated with a minimal                 13. The port selection method of claim 11, wherein the
       equal-cost path from the switching device to the second            method further comprises the step of retaining the network
       node;                                                              address associated with the inbound flow, for the conversa-
   if an inbound flow, for the conversation, from the second         20   tion, in a forwarding database maintained by the first node.
       node is not detected on the plurality of ports of the first           14. The port selection method of claim 13, wherein the
       node, then the switching device transmits the outbound             forwarding database comprises entries associating network
       flow, for the conversation, from a port selected from the          addresses with ports.
       plurality of ports associated with the minimal equal-cost             15. The port selection method of claim 11, wherein the
       path;                                                         25   determining step includes detecting the inbound flow, for the
   monitors for an inbound flow, for the conversation, from               conversation, using address source learning.
       the second node on the plurality of ports associated with             16. The port selection method of claim 15, wherein the
       the minimal equal-cost path;                                       address source learning associates a source address from an
   if the inbound flow, for the conversation, received from the           inbound PDU, for the conversation, with a port on which the
       second node is detected on a first port of the plurality of   30   inbound PDU is received.
       ports of the first switching device, then associating a               17. The port selection method of claim 11, further com-
       network address of the inbound flow with the first port            prising the step of selecting, using round-robin, a port for
       on which it was received; and                                      carrying the outbound flow, for the conversation, in response
   transmit the outbound flow from the first port of the switch-          to determining that an inbound flow, for the conversation,
       ing device to the second node based on the network            35   from the second node is not present on the first port.
       address associated with the inbound flow.                             18. The port selection method of claim 17, further com-
   11. A method for selecting a port on a first node of a                 prising the step of reassigning the outbound flow, for the
communication network for carrying an outbound flow, the                  conversation, from the round-robin-selected port to the first
method comprising the steps of:                                           port in response to determining that an inbound flow, for the
   at a switching device:                                            40   conversation, from the second node has become present on
   transmitting the outbound flow, for a conversation, from               the first port.
       the first node to a second node;
   identifying a plurality of ports on the first node associated
       with minimal equal-cost paths to a second node;                                           *   *   *   *   *
